            Case 2:16-cv-00074-JM Document 47 Filed 05/03/18 Page 1 of 4
                         UNITED STATES COURT OF APPEALS
                             FOR THE EIGHTH CIRCUIT

                                        ___________________

                                            No: 17-3073
                                        ___________________

                                            David Librace

                                                Plaintiff - Appellant

                                                  v.

 Deborah Helton Wright, also known as Deborah Faye Willette, also known as Debbie Willette,
   also known as Deborah Helton Wright Willette; Terry Willette, Sr.; ACES Investigation

                                   Defendants - Appellees
______________________________________________________________________________

        Appeal from U.S. District Court for the Eastern District of Arkansas - Helena
                                   (2:16-cv-00074-JM)
______________________________________________________________________________

                                            JUDGMENT


Before WOLLMAN, LOKEN and KELLY, Circuit Judges.


         This appeal from the United States District Court was submitted on the record of the

district court and briefs of the parties.

         After consideration, it is hereby ordered and adjudged that the judgment of the district

court in this cause is affirmed in accordance with the opinion entered on April 27, 2018 of this

Court.

                                                       May 03, 2018




Order Entered in Accordance with Opinion:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans


   Appellate Case: 17-3073           Page: 1     Date Filed: 05/03/2018 Entry ID: 4657523
           Case 2:16-cv-00074-JM Document 47 Filed 05/03/18 Page 2 of 4
                         UNITED STATES COURT OF APPEALS
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   Appellate Case: 17-3073           Page: 1     Date Filed: 05/03/2018 Entry ID: 4657523
          Case 2:16-cv-00074-JM Document 47 Filed 05/03/18 Page 3 of 4




             17-3073 David Librace v. Deborah Wright, et al "judgment filed sua sponte
             affirmed" (2:16-cv-00074-JM)
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                               Eighth Circuit Court of Appeals

Notice of Docket Activity

The following transaction was filed on 05/03/2018
                 David Librace v. Deborah Wright,
Case Name:
                 et al
Case Number:
                 17-3073
Document(s): Document(s)

Docket Text:
JUDGMENT FILED - The judgment of the Originating Court is AFFIRMED in accordance
with the opinion filed on April 27, 2018.. ROGER L. WOLLMAN, JAMES B. LOKEN and
JANE KELLY Scrg Apr 2018 [4657523] [17-3073] (Jeanette McKee)

Notice will be electronically mailed to:

Mr. Jim McCormack, Clerk of Court: ared_appeals@ared.uscourts.gov
Mr. William Kyle Stoner: kyle@kylestonerlaw.com


Notice will be mailed to:


Mr. David Librace
203 S. Seventh Street
West Helena, AR 72390-3019

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Document Description: Judgment With Opinions
Original Filename:
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          Case 2:16-cv-00074-JM Document 47 Filed 05/03/18 Page 4 of 4



[STAMP acecfStamp_ID=1105112566 [Date=05/03/2018] [FileNumber=4657523-0]
[40c9d2f0207f2ac7870641c2a6c5371b2e0f916b2d48c9ff79215dedb92aada57648e22975048aa7
34475695eae9942a45fb5bc28425d3bc693b410feec858cd]]
Recipients:
    Mr. David Librace
    Mr. Jim McCormack, Clerk of Court
    Mr. William Kyle Stoner

The following information is for the use of court personnel:


DOCKET ENTRY ID: 4657523
RELIEF(S) DOCKETED:
 affirmed
DOCKET PART(S) ADDED: 6039919, 6039920, 6039921
